Case 1: 03- --Cr 10059- .]DT Document 47 Filed 05/17/05 Page 1 of 2 Pa@.|D §
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IN THE UNITED sTATEs DISTRICT CoURT% `;) a 3d t 6
FOR THE WESTERN DISTRICT OF TENNESSEE?\A;;/;§)/ 4’/ \Q_/,
EASTERN DIVISION T:/;(Qa> ;_-,
5@.@\% \9
fda- 00
UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
VS. ) No. 03-10059-T-An
)
DARRYLPAULDUNCAN, )
)
Defendant. )

 

ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL

 

Defendant, pro se, has moved the court for the appointment of counsel. Judgrnent
Was entered against Defendant on September 20, 2004. Defendant has neither a direct
appeal nor a § 2255 motion pending before the court. Neither has he been granted
permission to proceed in forma pauperis Therefore, he is not entitled to have a court-
appointed attorney, and Defendant’s motion is DENIED.

IT IS SO ORDERED.

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JAM S D. TODD
UNI ED STATES DISTRICT IUDGE

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DATE l '

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with Rule 55 and!or 32(!:) FRCrP on _..M

 

 

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Honorable J ames Todd
US DISTRICT COURT

